

People v Efferson (2025 NY Slip Op 02794)





People v Efferson


2025 NY Slip Op 02794


Decided on May 7, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 7, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

FRANCESCA E. CONNOLLY, J.P.
ROBERT J. MILLER
LOURDES M. VENTURA
JAMES P. MCCORMACK, JJ.


2024-06591

[*1]The People of the State of New York, respondent,
vDominique N. Efferson, appellant. (S.C.I. No. 70119/24)


Alex Smith, Middletown, NY, for appellant.
David M. Hoovler, District Attorney, Goshen, NY (Cynthia Dolan and Andrew R. Kass of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the County Court, Orange County (Richard J. Guertin, J.), rendered May 29, 2024, convicting him of attempted criminal possession of a weapon in the second degree, upon his plea of guilty, and imposing sentence.
ORDERED that the judgment is affirmed.
The record demonstrates that the defendant knowingly, voluntarily, and intelligently waived his right to appeal (see People v Thomas, 34 NY3d 545; People v Lopez, 6 NY3d 248). The defendant's contention that his sentence constitutes cruel and unusual punishment is precluded by his valid waiver of the right to appeal (see People v Florio, 179 AD3d 834, 835; People v Rodriguez, 82 AD3d 794, 795), as is his contention that this Court should exercise its interest of justice jurisdiction to reduce the sentence (see People v Lopez, 6 NY3d at 255).
CONNOLLY, J.P., MILLER, VENTURA and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








